Case 1:17-cv-00928-CPO-EAP Document 10-4 Filed 04/26/17 Page 1 of 22 PagelD: 78
Case 1:17-cv-00928-RBK-KMW Document 9 Filed 04/12/17 Page 1 of 15 PagelD: 59

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Attorneys for Plaintiffs, Elaine Levins and William
Levins, and all others similarly situated

UNITED STATES DISTRICT COURT

DISTRICT OF NEW JERSEY
ELAINE LEVINS and WILLIAM LEVINS, Case 1:17-cv-00928-RBK-KMW
on behalf of themselves and others similarly
situated,
Plaintiffs, FIRST AMENDED
CLASS ACTION COMPLAINT FOR
VS. VIOLATIONS OF THE FAIR DEBT

COLLECTION PRACTICES ACT

HEALTHCARE REVENUE RECOVERY
GROUP, LLC d/b/a ARS ACCOUNT DEMAND FOR JURY TRIAL
RESOLUTION SERVICES, and JOHN
AND JANE DOES 1 THROUGH 25,

Defendants.

Plaintiffs, ELAINE LEVINS and WILLIAM LEVINS (“Plaintiffs” or “LEVINS”), on
their own behalf and on behalf of the class they seek to represent, bring this action for the illegal
practices of the Defendant, HEALTHCARE REVENUE RECOVERY GROUP, LLC d/b/a ARS
ACCOUNT RESOLUTION SERVICES (“HRRG”), and JOHN AND JANE DOES 1

THROUGH 25 (collectively “Defendants”), and allege the following:

wf’ EXHIBIT

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Case 1:17-cv-00928-CPO-EAP Document 10-4 Filed 04/26/17 Page 2 of 22 PagelD: 79
Case 1:17-cv-00928-RBK-KMW Document 9 Filed 04/12/17 Page 2 of 15 PagelD: 60

I, PARTIES

1, ELAINE LEVINS is a natural person.

2. At all times relevant to this lawsuit, ELAINE LEVINS was a citizen of, and
resided in, the Borough of Laurel Springs, Camden County, New Jersey.

3. WILLIAM LEVINS is a natural person.

4, At all times relevant to this lawsuit, WILLIAM LEVINS was a citizen of, and
resided in, the Borough of Laurel Springs, Camden County, New Jersey.

5. At all times relevant to this complaint, HRRG is a Limited Liability Company
existing pursuant to the laws of the State of Florida.

6. HRRG maintains its principal business address at 1643 N. Harrison Parkway,
Building H, Suite 100, City of Sunrise, Broward County, Florida.

7. Defendants, JOHN AND JANE DOES NUMBERS 1 THROUGH 25, are sued
under fictitious names as their true names and capacities are yet unknown to Plaintiffs. Plaintiffs
will amend this complaint by inserting the true names and capacities of these DOE defendants
once they are ascertained.

8. The Plaintiffs are informed and believe, and on that basis allege, that Defendants,
JOHN AND JANE DOES NUMBERS 1 THROUGH 25, are natural persons and/or business
entities all of whom reside or are located within the United States who personally created,
instituted, and, with knowledge that such practices were contrary to law, acted consistent with,
oversaw, and engaged in the illegal policies and procedures, used by themselves and HRRG
employees that are the subject of this complaint. Those Defendants personally control and
engaged in the illegal acts, policies, and practices utilized by HRRG and, therefore, are

personally liable for all of the wrongdoing alleged in this Complaint.
Case 1:17-cv-00928-CPO-EAP Document 10-4 Filed 04/26/17 Page 3 of 22 PagelD: 80

Case 1:17-cv-00928-RBK-KMW Document9 Filed 04/12/17 Page 3 of 15 PagelD: 61

Il, JURISDICTION & VENUE

9. Jurisdiction of this Court arises under 15 U.S.C. § 1692k(d) and 28 U.S.C.
§ 1331.

10. Venue is appropriate in this federal district pursuant to 28 U.S.C. §1391(b)
because a substantial part of the events giving rise to the Plaintiffs’ claims occurred within this
federal judicial district, and because HRRG is subject to personal jurisdiction in the State of New

Jersey at the time this action is commenced.

Ill. PRELIMINARY STATEMENT

11. Plaintiffs, on their own behalf and on behalf of the class they seek to represent,
bring this action for the illegal practices of Defendants which include, inter alia, using false,
deceptive, misleading, harassing, and abusive practices in connection with their attempt to
collect an alleged debt from Plaintiffs and other similarly situated consumers.

12. Plaintiffs allege that HRRG collection practices violate the Fair Debt Collection
Practices Act, 15 U.S.C. § 1692, ef seg. (“FDCPA”).

13. Such collection practices include, inter alia, leaving pre-recorded telephonic
voice messages for consumers, which:

(a) fail to provide meaningful disclosure of HRRG’s identity;

(b) use false representations and deceptive means to collect or attempt
to collect any debt and to obtain information concerning a consumer;
and

(c) use the name of any business, company, or organization other than
the true name of the debt collector’s business, company, or

organization.
Case 1:17-cv-00928-CPO-EAP Document 10-4 Filed 04/26/17 Page 4 of 22 PagelD: 81

Case 1:17-cv-00928-RBK-KMW Document9 Filed 04/12/17 Page 4 of 15 PagelD: 62

14. The FDCPA regulates the behavior of collection agencies attempting to collect a
debt on behalf of another. The United States Congress has found abundant evidence of the use of
abusive, deceptive, and unfair debt collection practices by many debt collectors, and has
determined that abusive debt collection practices contribute to a number of personal
bankruptcies, marital instability, loss of jobs, and invasions of individual privacy. Congress
enacted the FDCPA to eliminate abusive debt collection practices by debt collectors, to ensure
that those debt collectors who refrain from using abusive debt collection practices are not
competitively disadvantaged, and to promote uniform State action to protect consumers against
debt collection abuses. 15 U.S.C. § 1692(a) - (e).

15. The FDCPA isa strict liability statute, which provides for actual or statutory
damages upon the showing of one violation. The Third Circuit has held that whether a debt
collector’s conduct violates the FDCPA should be judged from the standpoint of the “least
sophisticated consumer.” Graziano v. Harrison, 950 F.2d 107 (3d Cir. 1991).

16. | To prohibit harassment and abuses by debt collectors the FDCPA, at 15 U.S.C.
§ 1692d, provides that a debt collector may not engage in any conduct the natural consequence
of which is to harass, oppress, or abuse any person in connection with the collection of a debt
and names a non-exhaustive list of certain per se violations of harassing and abusive collection
conduct. 15 U.S.C. § 1692d(1)-(6). Among the per se violations prohibited by that section are:
the placement of telephone calls without meaningful disclosure of the caller’s identity, 15 U.S.C.
§ 1692d(6).

17. To prohibit deceptive practices, the FDCPA, at 15 U.S.C. § 1692e, outlaws the
use of false, deceptive, and misleading collection letters and names a non-exhaustive list of
certain per se violations of false and deceptive collection conduct. 15 U.S.C. § 1692e(1)-(16).

Among the per se violations prohibited by that section are: using any false representation or

-4.
Case 1:17-cv-00928-CPO-EAP Document 10-4 Filed 04/26/17 Page 5 of 22 PagelD: 82

Case 1:17-cv-00928-RBK-KMW Document9 Filed 04/12/17 Page 5 of 15 PagelD: 63

deceptive means to collect or attempt to collect any debt or to obtain information concerning a
consumer, 15 U.S.C. § 1692e(10); and the use of any business, company, or organizalion name
other than the true name of the debt collector’s business, company, or organization, 15 U.S.C.
§ 1692e(14).

18. The Plaintiffs, on behalf of themselves and all others similarly situated, seek
statutory damages, attorney fees, costs, and all other relief, equitable or legal in nature, as
deemed appropriate by this Court, pursuant to the FDCPA and all other common law or statutory
regimes.

IV. FACTS REGARDING PLAINTIFFS

19. Sometime prior to August 18, 2016, Plaintiffs allegedly incurred a financial
obligation in the form of a medical debt. (“Debt”).

20. | The Debt arose out of a transaction in which the money, property, insurance, or
services which are the subject of the transaction are primarily for personal, family, or household
purposes.

21. HRRG collects, and attempts to collect, defaulted medical debts incurred, or
alleged to have been incurred, for personal, family, or household purposes on behalf of creditors
using the U.S. Mail, telephone, and Internet.

22. On or about August 18, 2016, the unknown creditor of the Debt either directly or
through intermediate transactions assigned, placed, or transferred the Debt to HRRG for
collection.

23. Within the one year immediately preceding the filing of this complaint and as set
forth infra, HRRG contacted Plaintiffs and third-parties via telephone in an attempt to collect the

alleged Debt.
Case 1:17-cv-00928-CPO-EAP Document 10-4 Filed 04/26/17 Page 6 of 22 PagelD: 83

Case 1:17-cv-00928-RBK-KMW Document9 Filed 04/12/17 Page 6 of 15 PagelD: 64

24. | HRRG is, at all times relevant to this complaint, a “‘debt collector” as defined by
15 U.S.C. § 1692a(6).
25. HRRG contends the Debt is in default.
26. The alleged Debt is a “debt” as defined by 15 U.S.C. § 1692a(5).
27, ELAINE LEVINS is, at all times relevant to this lawsuit, a “consumer” as that
term is defined by 15 U.S.C. § 1692a(3).
28. WILLIAM LEVINS is, at all times relevant to this lawsuit, a “consumer” as that
term is defined by 15 U.S.C. § 1692a(3).
29. Within the one year immediately preceding the filing of Plaintiffs’ complaint in
this action, HRRG contacted Plaintiffs via telephone on multiple occasions to collect the Debt.
30. Within the one year immediately preceding the filing of Plaintiffs’ complaint in
this action, HRRG left multiple pre-recorded telephonic voice messages for Plaintiffs on their
telephone voicemail system in an attempt to collect the alleged Debt (“Messages”).
31, The following is a transcription of the pre-recorded Messages HRRG left for
Plaintiffs during the one year period immediately preceding the filing of their complaint:
ARS calling. Please return our call at 1-800-694-3048. ARS is a
debt collector. This is an attempt to collect a debt. Any
information obtained will be used for that purpose. Again, our
number is 1-800-694-3048. Visit us at www.arspayment.com.”
32. ‘The foregoing Messages may be heard by clicking on the following icon:
33. Each of the Messages is a “communication” as defined by 15 U.S.C. § 1692a(2).

34, Each of the Messages was left by persons employed as debt collectors by HRRG

in connection with the collection of a “debt” as defined by 15 U.S.C. §1692a(5).
Case 1:17-cv-00928-CPO-EAP Document 10-4 Filed 04/26/17 Page 7 of 22 PagelD: 84

Case 1:17-cv-00928-RBK-KMW Document9 Filed 04/12/17 Page 7 of 15 PagelD: 65

35. | The Messages are identical, in that each uniformly failed to:

(a) Provide meaningful identification of HRRG’s identity as the caller;
and

(b) Disclose the true name of the HRRG’s business, company, or
organization.

36. At the time Plaintiffs received the Messages, they did not know the identity of
caller but they did know from their schedules in connection with a discharged debt from their
recent bankruptcy case of a debt collector named “ARS.”. The full name of that collector is ARS
National Services, Inc.—an entity wholly unrelated to HRRG. Consequently, HRRG’s use of the
name “ARS” was, without more, confusing and not meaningful.

37, There are numerous companies, businesses, and debt collectors who use the name
“ARS” including, but not limited to, ARS National Services, Inc., which is a California corporation
registered to transact business in the State of New Jersey, and Advanced Recovery Systems Inc.
which is a Mississippi corporation also registered to transact business in the State of New Jersey.

38. HRRG is not registered to use the name “ARS” in any context in the State of New
Jersey.

39. HRRG has not licensed the name “ARS” for use in any context in the State of New
Jersey.

40. HRRGhas not trademarked or copyrighted the name “ARS” for use in any context.

41. On information and belief, by reputation the name “ARS” is, without more,
associated in the nation’s debt collection industry with ARS National Services Inc.

42. A Google search of “ARS” along with either word “debt” or “collector” will result

in many links to many debt collectors other than HRRG. Furthermore, a current search for
Case 1:17-cv-00928-CPO-EAP Document 10-4 Filed 04/26/17 Page 8 of 22 PagelD: 85
Case 1:17-cv-00928-RBK-KMW Document 9 Filed 04/12/17 Page 8 of 15 PagelD: 66

www.arspayment.com—the URL provided in the Messages—leads to a browser privacy warning
blocking access to the websile.

43. If one does finally access the website, www.arspayment.com—the URL provided
in the Messages—surreptitiously tracks and stores information about the persons who access the
website using a computer.

44. The Plaintiffs have never received any written communications from HRRG.

45. The telephone number 1-800-694-3048 is answered by persons who are employed
by HRRG as “debt collectors” as that term is defined by 15 U.S.C. § 1692a(6)

46. The only way for Plaintiffs and/or a least sophisticated consumer to obtain the
identity of the caller, and to ascertain the purpose underlying the Messages, is to place a return
call to the telephone number provided in the Messages and speak with a debt collector employed
by HRRG, and then provide that debt collector with personal information.

47. Consequently, HRRG’s Messages failed to meaningfully identify HRRG as the
caller.

48. | HRRG intended that the Messages have the effect of causing Plaintiffs and other
least sophisticated consumers to place return calls to the telephone number provided in the
Messages and speak with its debt collectors as the sole means of obtaining the identity of the
caller leaving the Messages, and to ascertain the purpose underlying the Messages.

49. Scores of federal court decisions—including the 11th Circuit Court of Appeals
and District of New Jersey—uniformly hold that the FDCPA requires debt collectors to provide
meaningful identification of itself in telephonic voice messages left for consumers, by accurately
stating the true name of the debt collection company and the nature and/or purpose of the call.

50. At all times relevant to this action, HRRG was aware of the substantial weight of

legal authority requiring it to provide meaningful identification of itself in telephonic voice

-8-
Case 1:17-cv-00928-CPO-EAP Document 10-4 Filed 04/26/17 Page 9 of 22 PagelD: 86
Case 1:17-cv-00928-RBK-KMW Document9 Filed 04/12/17 Page 9 of 15 PagelD: 67

messages left for consumers, such as the Messages, by accurately stating its true company name,
staling the nature and/or purpose of the call, and disclosing that it is a debt collector.

51. At all times relevant to this action, HRRG willfully, deliberately, and intentionally
chose not to provide meaningful identification of itself in telephonic voice messages left for
consumers, such as the Messages, by accurately stating its true company name and stating the
nature and/or purpose of the call.

52. HRRG’s act of leaving the Messages for Plaintiffs is conduct the natural
consequences of which is to harass, oppress, or abuse a person in connection with the collection
of a debt and is in violation of the FDCPA.

53. HRRG’s act of leaving the Messages constitutes the use of a false, deceptive, or
misleading representation or means in connection with the collection of any debt and is in
violation of the FDCPA.

54. The FDCPA secures a consumer’s right to have a debt collector cease further
communications with the consumer. By failing to meaningfully identify itself, HRRG has
engaged in conduct designed to deprive consumers of their right to have a debt collector cease
further communications without providing their personal information.

V. POLICIES AND PRACTICES COMPLAINED OF

55. It is HRRG’s policy and practice to leave telephonic voice messages for
consumers and other persons, such as the Messages, that violate the FDCPA by, inter alia:
(a) Failing to provide meaningful disclosure of HRRG’s identity;
(b) Using false representations and deceptive means to collect or
attempt to collect any debt and to obtain information concerning a
consumer; and

(c) Using the name of any business, company, or organization other

-9-
Case 1:17-cv-00928-CPO-EAP Document 10-4 Filed 04/26/17 Page 10 of 22 PagelD: 87

Case 1:17-cv-00928-RBK-KMW Document9 Filed 04/12/17 Page 10 of 15 PagelD: 68

than the true name of the debt collector’s business, company, or
organization.
56. | On information and belief, the Messages, as alleged in this complaint under the
Facts Concerning Plaintiffs, number in the thousands.

VI. CLASS ALLEGATIONS

57. This action is brought as a class action. Plaintiffs bring this action on behalf of
themselves and on behalf of all other persons similarly situated pursuant to Rule 23 of the
Federal Rules of Civil Procedure.

58. This claim is brought on behalf of a class of all persons with addresses in the State
of New Jersey for whom HRRG left a telephonic voice message in an attempt to collect a debt,
which simply identified the caller as “ARS” instead of its true company name, during the period
beginning February 12, 2016, and ending March 12, 2017.

59. The identities of all class members are readily ascertainable from HRRG’s
business records and the records of those businesses and third-party entities on whose behalf it
attempts to collect debts.

60. Excluded from the Class are HRRG and all officers, members, partners,
managers, directors, and employees of HRRG and their respective immediate families, and legal
counsel for all parties to this action and all members of their immediate families.

61. There are questions of law and fact common to the Class, which common issues
predominate over any issues involving only individual class members. The principal issues are
whether HRRG’s telephonic voice messages, in the form of the Messages, violate 15 U.S.C.

§§ 1692d, 1692d(6), 1692e, 1692e(10), and 1692e(14).
62. The Plaintiffs’ claims are typical of the class members, as all are based upon the

same facts and legal theories.

-10-
Case 1:17-cv-00928-CPO-EAP Document 10-4 Filed 04/26/17 Page 11 of 22 PagelD: 88

Case 1:17-cv-00928-RBK-KMW Document9 Filed 04/12/17 Page 11 of 15 PagelD: 69

63. The Plaintiffs will fairly and adequately protect the interests of the Class defined
in this complaint. The Plaintiffs have retained counsel with experience in handling consumer
lawsuits, complex legal issues, and class actions, and neither the Plaintiffs nor their attorneys
have any interests, which might cause them not to vigorously pursue this action.

64. This action has been brought, and may properly be maintained, as a class action
pursuant to the provisions of Rule 23 of the Federal Rules of Civil Procedure because there is a
well-defined community interest in the litigation:

(a) Numerosity: The Plaintiffs are informed and believe, and on that basis
allege, that the Class defined above is so numerous that joinder of all
members would be impractical.

(b) Common Questions Predominate: Common questions of law and fact

exist as to all Class members and those questions predominate over any
questions or issues involving only individual class members. The principal
issues are whether HRRG’s telephonic voice messages, in the form of the
Messages, violate 15 U.S.C. §§ 1692d, 1692d(6), 1692e, 1692e(10), and
1692e(14).

(c) Typicality: The Plaintiffs’ claims are typical of the claims of the class
members. Plaintiffs and each Class Member have claims arising out of
HRRG’s common uniform course of conduct complained of herein.

(d) Adequacy: The Plaintiffs will fairly and adequately protect the interests of
the class members insofar as Plaintiffs have no interests that are averse to
absent class members. The Plaintiffs are committed to vigorously litigating
this matter. Plaintiffs have also retained counsel experienced in handling

consumer lawsuits, complex legal issues, and class actions. Neither the

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Case 1:17-cv-00928-CPO-EAP Document 10-4 Filed 04/26/17 Page 12 of 22 PagelD: 89

Case 1:17-cv-00928-RBK-KMW Document9 Filed 04/12/17 Page 12 of 15 PagelD: 70

Plaintiffs nor their attorneys has any interests which might cause them not
to vigorously pursue the instant class action lawsuit.

(e) Superiority: A class action is superior to the other available means for the
fair and efficient adjudication of this controversy because individual joinder
of all members would be impracticable. Class action treatment will permit
a large number of similarly situated persons to prosecute their common
claims in a single forum efficiently and without unnecessary duplication of
effort and expense that individual actions would engender.

65. Certification of a class under Rule 23(b)(3) of the Federal Rules of Civil
Procedure is appropriate in that the questions of law and fact common to members of the Class
predominate over any questions affecting an individual member, and a class action is superior to
other available methods for the fair and efficient adjudication of the controversy.

66. Based on discovery and further investigation (including, but not limited to,
Defendants’ disclosure of class size and net worth), Plaintiffs may, in addition to moving for
class certification using modified definitions of the Class, Class Claims, and the class period, and
seek class certification only as to particular issues as permitted under Fed. R. Civ. P. 23(c)(4).

VIL. FIRST CAUSE OF ACTION
VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

67. Plaintiffs reallege and incorporate by reference the allegations in the preceding

paragraphs of this Complaint.

68. HRRG violated the FDCPA. HRRG’s violations with respect to the Messages
include, but are not limited to, the following:

(a) Engaging in conduct the natural consequence of which is to harass, oppress, or

abuse any person in connection with the collection of a debt in violation of 15

-12-
Case 1:17-cv-00928-CPO-EAP Document 10-4 Filed 04/26/17 Page 13 of 22 PagelD: 90

Case 1:17-cv-00928-RBK-KMW Document9 Filed 04/12/17 Page 13 of 15 PagelD: 71

ULS.C. § 1692d;

(b) Placing telephone calls without providing meaningful disclosure of HRRG’s
identity as the caller in violation of 15 U.S.C. § 1692d(6);

(c) Using a false representation or deceptive means to collect or attempt to collect any
debt or to obtain information concerning a consumer, which constitutes a violation
of 15 U.S.C. §§ 1692e and 1692e(10); and

(d) Using the name of any business, company, or organization other than the true name
of HRRG’s business, company, or organization, which constitutes a violation of 15
U.S.C. §§ 1692e and 1692¢(14).

Vill. PRAYER FOR RELIEF

69. WHEREFORE, Plaintiffs respectfully request the Court enter judgment in their
favor and in favor of the Class as follows:
For the FIRST CAUSE OF ACTION:
(i) An order certifying that the First Cause of Action may be maintained as a class
pursuant to Rule 23 of the Federal Rules of Civil Procedure and appointing
Plaintiffs and the undersigned counsel to represent the Class defined above.
(ii) An award of statutory damages for Plaintiffs and the Class pursuant to 15
U.S.C. § 1692k(a)(2)(B);
(iii) An incentive award for Plaintiffs in recognition of their services on behalf of
the Class in an amount to be determined by the Court;
(iv) Attorney’s fees, litigation expenses, and costs pursuant to 15 U.S.C.
§ 1692k(a)(3); and

(v) For such other and further relief as may be just and proper.

-13-
Case 1:17-cv-00928-CPO-EAP Document 10-4 Filed 04/26/17 Page 14 of 22 PagelD: 91
Case 1:17-cv-00928-RBK-KMW Document9 Filed 04/12/17 Page 14 of 15 PagelD: 72

IX. JURY DEMAND

Plaintiffs hereby demand that this case be tried before a Jury.

S/ Philip D. Stern

Dated: April 12, 2017 Philip D. Stern
STERN*THOMASSON LLP

s/ Andrew T. Thomasson
Andrew T. Thomasson
STERN* THOMASSON LLP

s/ Daniel A. Frischberg
Dated: April 12, 2017 Daniel A. Frischberg, Esq.
LAW OFFICE OF ANDREW B. FINBERG, LLC

Attorneys for Plaintiffs and all others similarly
situated

-14-
Case 1:17-cv-00928-CPO-EAP Document 10-4 Filed 04/26/17 Page 15 of 22 PagelD: 92

Case 1:17-cv-00928-RBK-KMW Document9 Filed 04/12/17 Page 15 of 15 PagelD: 73

X. CERTIFICATION PURSUANT TO LOCAL CIVIL RULE 11.2

I, Daniel A. Frischberg, Philip D. Stern, and Andrew T. Thomasson hereby certify that to
the best of my knowledge the matter in controversy is not the subject of any other action pending
in any court or the subject of a pending arbitration proceeding, nor is any other action or
arbitration proceeding contemplated. I further certify that | know of no party, other than putative
class members, who should be joined in the action at this time.

In accordance with 28 U.S.C. §1746, I certify under penalty of perjury under the laws of
the United States of America that the foregoing is true and correct.

s/ Philip D. Stern

Dated: April 12, 2017 Philip D. Stern
STERN* THOMASSON LLP

s/ Andrew T. Thomasson
Andrew T. Thomasson
STERN* THOMASSON LLP

8/ Daniel A. Frischberg

Dated: April 12, 2017 Daniel A. Frischberg, Esq.
LAW OFFICE OF ANDREW B. FINBERG, LLC

Attorneys for Plaintiffs and all others similarly
situated

-15-
Case 1:17-cv-00928-CPO-EAP Document 10-4 Filed 04/26/17 Page 16 of 22 PagelD: 93

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: ARTICLES OF ORGANIZATION
OF
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HEALTHCARE REVENUE RECOVERY GROUP, LLC <ur 4 aN
~ ¢ eo we
a 2 a
The undersigned, pursuant to the provisions of Chapter 608 of the Florida: * MA
Statutes, for the purpose of forming a limited liability company under the laws of tie, oom
State of Florida, hereby adopts the following Articles of Organization. “wt ue
‘Oe <A
ARTICLE I - NAME es

The name of the limited liability company is Healthcare Revenue Recovery
Group, LLC (the “Company”).

ARTICLE Ii - ADDRESS

The mailing address and the street address of the principal office of the Company
is:

1801 NW 66th Avenue
Suite 200A
Plantation, FL 33313

ARTICLE III - REGISTERED AGENT AND ADDRESS

The name of the Registered Agent for the Company is Corporation Service
Company and its street address is as follows:

1201 Hays Street
Tallahassee, Florida 32301-2525

ARTICLE [IV -MANAGEMENT

The Company shall be managed by one or more managers and is, therefore, a
manager-managed company.

IN WITNESS WHEREOF, the undersigned has executed these Articles of
Organization on this Jet May of December, 2004

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Case 1:17-cv-00928-CPO-EAP Document 10-4 Filed 04/26/17 Page 17 of 22 PagelD: 94

~ STATEMENT OF ACCEPTANCE OF REGISTERED AGENT

The undersigned, being the corporation named in the Articles of Organization of
Healthcare Revenue Recovery Group, LLC, as the Registered Agent of this limited
liability company, hereby consents to and accepts the appointment as Registered Agent
of the Company and agrees to act in such capacity. The undersigned further agrees to
company with the provisions of all statutes relating to the proper and complete
performance of the undersigned’s duties as Registered Agent. The undersigned states that
it is familiar with and accepts the responsibilities and obligations of its position as the
Registered Agent of the Company, as provided for in Chapter 608, Florida Statues.

Corporation Service Company

By:_Cuctthia A. Novus
lis:_(" Cynthia L Harria
as its agent

Case 1:17-cv-00928-CPO-EAP Document 10-4 Filed 04/26/17 Page 18 of 22 PagelD: 95

NEW JERSEY DEPARTMENT OF THE TREASURY
DIVISION OF REVENUE AND ENTERPRISE SERVICES

HEALTHCARE REVENUE RECOVERY GROUP, LLC
0600233404

I, the Treasurer of the State of New Jersey, do hereby certify
that the above-name did on 20th day of November, 2013 file and
record in the department a Certificate of Renewal of Alternate

Name.
1, BUSINESS NAME:
HEALTHCARE REVENUE RECOVERY GROUP, LLC

2. BUSINESS ID.:
0600233404
3. ALTERNATE NAME:
ARS ACCOUNT RESOLUTION SERVICES

4, ALTERNATE NAME IS VALID UNTIL:
December 19, 2018

5. ACTIVITY TO BE CONDUCTED USING ALTERNATE NAME:

Business intend to use the name in New Jersey.

IN TESTIMONY WHEREOF, I have
hereunto set ny hand and affixed my
Official Seal at Trenton, this
20th day af November, 2013

An A

Andrew P Sidamon-Eristoff
State Treasurer

Certification 4 439272537
Verify this cerlificate at
https:/Avww 1 state.nj.us/TYTR_StandingCert/JSP/Verify_Certjsp

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Case 1:17-cv-00928-CPO-EAP Document 10-4 Filed 04/26/17 Page 19 of 22 PagelD: 96

ARS Account Resolution Services - ARS Account Resolution Services Page | of 1

Payment Request FAQ Notices Contact Inicio

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MAKE A PAYMENT [AIS Account Resolution Services fs a division of Healthcare Revenue Recovery Group, (HRRG) a subsidiary

of TeamHealth.

Make a payment Frequently asked Contact Us
questions

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For flexibility and convenience ARS Account Do you need our payment malling address? Do you

Resolution Services now makes it possible to pay Do you have a spacific question about a topic related need any additlonal services not provided
towards your account balance online using a credit to your account? Thare ls a good chance that the ontine? Click above for information on contacting our

card or check. Click above for moro information answer can be found in our "Frequently Asked office,
Quostions" araa. Click above to find a solution.

To make a payment anytime, try our Automated Payment System: (844-PAY-ARS2) / 844-729-2772.

This Is an attempt to collect a debt and any Information obtained shall be used for that purpose. This communication Is from a debt collector. Nuestro
objetivo es cobrar las sumas adeudadas y toda la Informacién recopliada se usaré para tal fin. Esta comunicacién la emite una entidad a cargo del cobro

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EXHIBIT

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https://www.arspayment.com/ 3/20/2017
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Payment Request FAQ Notices Contact Inicio

Make a payment Request Paid In Full Letter Get answers View My Nolices arspaymenlcom Hacer Pagé

English

Home

Make A Payment
Request Paid In Full Letter
FAQ

View My Natices

Credit Repart Issue

This is an attempt to collect a debt and any information obtained shall be used for that purpose

This communication is from a debt collector. Contact Us
Make A Payment Espajiol
To make an online payment, you will need a copy of the original letter sent to you from ARS Account
Resolution Services. This transaction will appear as “ARS" on your credit card statement. If you do Inicio

not have this letter available, please contact our Collections department at (800) 694-3048 (For
English) or (800) 694-3397 (Para Espafiol) to obtain the information required to login to your account

Efectuar un pago

Solicitar carla de pago total

For added convenience, you can also make a payment through our Automated Payment System by .
calling Preguritas Frecuentes

(844-PAY-ARS2) / 844-729-2772. — Noticias

Puntos controvertidas del

MAKE A PAYMENT

informe crediticio

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This Is an attempt to collect a debt and any Information obtalned shall be used for that purpose. This communication Is from a debt collector. Nuestro
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https://www.arspayment.com/make-a-payment/ 4/25/2017
Case 1:17-cv-00928-CPO-EAP Document 10-4 Filed 04/26/17 Page 21 of 22 PagelD

ARS =

PO BOX 459079

SUNRISE FL 33345-9079

: 98

Account Resolution Services
a division of HRRG, LLC

November 30, 2015 P.O. Box 459079
Sunrise, FL 33345-9079

Toll Free Phone 800-694-3048

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ARS 4019461 Y/AABB

ELAINE LEVINS

84 LINCOLN DR

CLEMENTON NJ 08021-2856

www.arspayment.com
Re: 80864955 Validation Notice PIN# 2.80864955.525

Dear Elaine Levins:

The healthcare creditor(s) shown below hired ARS Account Resolution Services (ARS) to collect the balance due. We may
report any outstanding balances to the majar credit bureaus. To pay, just fill in your credit card information on the
reverse side of this notice, or enclose your check/money order payable to the creditor, along with the payment voucher
below. To pay using our automated IVR accessible 24 hours a day, call 844-PAY-ARS2 (844-729-2772) or visit our website
at www.arspayment.com. Both options require the PIN # and the RE: # listed above along with the last four digits of your

social security number.

Unless you notify this office within 30 days after receiving this notice that you dispute the validity of this debt, or any
portion thereof, this office will assume this debt is valid, If you notify this office In writing within 30 days after receiving
this notice that you dispute the validity of this debt, or any portion thereof, this office will obtain verification of the debt
or obtain a copy of a judgment and mail you a copy of such judgment or verification. If you request of this office in writing
within 30 days after receiving this notice, this office will provide you with the name and address of the original creditor if
different from the current creditor.

This communication is from a debt collector. This is an attempt to collect a debt and any information obtained will be
used for that purpose. (NOTICE : SEE REVERSE FOR IMPORTANT INFORMATION).

o< o<
Client Account: 0411 - 44427216 Amount Enclosed $
Creditor Account # Regarding Amt Owed ServDate
ATLANTIC ER PHYS TEAM PED 0139549982-44427216 LEVINS,MADELINE 169.82 09/02/14
ARS

PO BOX 630806
CINCINNATI OH 45263-0806
Dade sSudataasd aE vsastleDosdestelbsseoTfestlalbalfial

3 080864955 000016942 013954958e 3 4 EXHIBIT

Al
Case 1:17-cv-00928-CPO-EAP Document 10-4 Filed 04/26/17 Page 22 of 22 PagelD: 99

PLEASE NOTE: This transaction will appear on your next credit card statement as “ARS”.

For your conveniance you may pay by MasterCard, VISA, American Express or Discover. Check the appropriate box, print the cardholder's name as It
appears on the card, the card number, the expiration date, sign and return this portion of your statemenl.

- Please Check Appropriate Box >) CHANGE OF ADDRESS
CREDIT CARD
QO am O | ven) OO) Tal O
PAYMENT 0 Fe 9 (0-1. BN) cross:
CARD NUMBER _ ee
[ / | [th | | | | | Apt./Unit#:
EXP. DATE PAYMENT AMOUNT
TTIT It) Lit To
} | | tb. |_| _|
SIGNATURE PHONE NUMBER State:
(TT HITH EEL) _
NAME AS IT APPEARS ON CARD - PLEASE PRINT Zip:

XX A

